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                   IN THE US DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

STATE OF GEORGIA

v.                                 1:23cv3721

DONALD TRUMP, ET AL.


                          WAIVER OF APPEARANCE

      I understand that I have a right to be present at all hearings in my

case. After discussions with counsel, it is my knowing and voluntary decision to

waive my right to be present at the September 18, 2023 hearing on removal.

                                              /s/ Jeffrey B. Clark

                                              JEFFREY B. CLARK, DEFENDANT

                                              Respectfully submitted,


/s/ Harry W. MacDougald
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                    IN THE US DISTRICT COURT
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 v.                               1:23cv3721

 DONALD TRUMP, ET AL.


                            CERTIFICATE OF SERVICE

      The undersigned hereby certify that the foregoing Waiver of Appearance has

been served upon the State of Georgia through the Northern District of Georgia

electronic filing system.



      Respectfully submitted this 18th day of September, 2023.

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